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                           UNITED STATES DISTRICT COURT    . .~ '",:,
                          SOUTHERN DISTRICT OF CALIFORNIA ',9 Pli 2: \3
                                                                              1.Ull QC1

 UNITED STATES OF AMERICA,                            CASE NO. 12CR2328JbMS'
                                                                               '!~-""-'"
                                 Plaintiff,

                    vs.                               JUDGMENT OF DISMISSAL
 JACQUELINE MENDOZA (3) ,

                                Defendant.


              IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has granted the
       motion of the Government for dismissal of this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

---L the Court has granted the motion of the Government for dismissal without prejudice; or
       the Court has granted the motion of the defendant for dismissal/judgment of acquittal; or

       a jury has been waived, and the Court has found the defendant not guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

--K- of the ofIense(s) as charged in the Information:
           8 USC 1324(a)(l)(iv) and (v)(II)

               IT IS TIlEREFORE ADJUDGED that the defe~t is he:Aged.

 DATED:      October 19, 2012                             _ _.:o.C_..4~iJ,.,.:ao....&~lE:IIo;;uII~L..-_______
                                                           Hon. DANA M. SABRAW
                                                           UNITED STATES DISTRICT JUDGE
